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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                         :
HONORABLE PAULA A. PATRICK,              :
                                         :
                Plaintiff,               :
                                         :
    v.                                   :       CIVIL ACTION NO. 2:22-cv-01520
                                         :
THE DAILY BEAST COMPANY LLC, et al.,     :
                                         :
                Defendants.              :
                                         :

     MEMORANDUM OF LAW IN SUPPORT OF MOTION TO DISMISS BY
   DEFENDANTS THE DAILY BEAST COMPANY LLC AND LAURA BRADLEY




                                             BALLARD SPAHR LLP

                                             Kaitlin M. Gurney
                                             Leslie Minora
                                             1735 Market Street, 51st Floor
                                             Philadelphia, PA 19103
                                             T: (215) 665-8500
                                             F: (215) 864-8999
                                             gurneyk@ballardspahr.com
                                             minoral@ballardspahr.com

                                             Seth D. Berlin (pro hac vice forthcoming)
                                             1909 K Street NW, 12th Floor
                                             Washington, DC 20006-1157
                                             T: (202) 508-1122
                                             F: (202) 661-2299
                                             berlins@ballardspahr.com

                                             Counsel for Defendants The Daily Beast
                                             Company LLC and Laura Bradley
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       Defendants, The Daily Beast Company LLC and Laura Bradley (collectively, “the Daily

Beast Defendants”), respectfully submit this memorandum of law in support of their motion to

dismiss for lack of personal jurisdiction under Federal Rule of Civil Procedure 12(b)(2) and for

failure to state a claim under Federal Rule of Civil Procedure 12(b)(6).

                                        INTRODUCTION

       The Plaintiff in this action, The Honorable Paula A. Patrick, is a sitting judge and 2021

Pennsylvania Supreme Court candidate. She is, for the second time, suing two New York

Defendants in Pennsylvania for false light invasion of privacy—a claim that the state of New

York does not recognize—for having described her as “QAnon-Linked.” Earlier this year, Judge

Patrick filed a substantially similar case in the Philadelphia Court of Common Pleas against the

same two defendants, The Daily Beast Company LLC, publisher of the New York-based online

publication The Daily Beast, and its reporter, Laura Bradley. But she withdrew that earlier case

after the Daily Beast Defendants challenged both personal jurisdiction and the merits of her

complaint, see Ex. 1 (Pa. C.C.P. Compl.), and later re-filed her case in this Court.1 As explained

below, Judge Patrick’s false light claim fares no better here.

       As a threshold matter, the Court lacks personal jurisdiction over the Daily Beast

Defendants, as neither the company nor its reporter has sufficient connections to Pennsylvania.

The Daily Beast Company has no offices or assets in Pennsylvania, and just one employee who

works remotely in the Commonwealth but reports to the New York office (and who had no

involvement in the challenged article). Ms. Bradley, who wrote the article at issue, cannot recall




1
  Judge Patrick’s state court lawsuit had also named The Philadelphia Inquirer and one of its
reporters as additional defendants. Id. In this Court, Judge Patrick has dropped The Inquirer and
its reporter as defendants but continues to allege that the Daily Beast Defendants improperly
relied on The Inquirer’s purportedly “flawed reporting.” Compl. ¶ 21.


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having ever been to Pennsylvania. She drafted the article exclusively in New York, and directed

it to the publication’s national audience, just like other national and international news outlets

that covered the same controversy. The Complaint itself avers that the Daily Beast Defendants

conducted no interviews in and made no calls to Pennsylvania. Compl. ¶ 23.

       Turning to the merits, the Daily Beast article accurately summarized the two reasons why

Judge Patrick recently had garnered substantial public attention. First, in the midst of her

campaign for a seat on Pennsylvania’s high court, Judge Patrick gave a lengthy YouTube

interview to a QAnon-affiliated talk show host whom she referred to as “Prophetess.” During

the interview, Judge Patrick told the Prophetess, “I love you guys, and I’m so happy to have met

you. . . . You guys are tremendous, and I thank you so much for the opportunity to speak to your

audience.” During the interview, the Prophetess noted that Judge Patrick was considering

attending an upcoming QAnon-affiliated conference, and Judge Patrick responded, “Yes.” Judge

Patrick also told The Inquirer that she had been introduced to the Prophetess by Mark Taylor, a

QAnon leader who calls himself a “Prophet,” and explained that he had been trying to help her

with her Supreme Court campaign. See Ex. 1 (Pa. C.C.P. Compl. at Ex. B). Towards the end of

the interview, the Prophetess showed a campaign ad for Judge Patrick, apparently supplied by

her campaign. Judge Patrick subsequently appeared on a list of featured speakers for the

QAnon-affiliated conference, “Patriots Arise, Awakening the Dead!” But apparently she had

second thoughts, later telling The Inquirer that she would not be attending and stating, “[t]here’s

no way I would link myself to anything that would be questionable like that.” Id.

       Second, Judge Patrick presided over a high-profile dispute involving a statue of

Christopher Columbus in South Philadelphia. Her rulings, which prevented the City from

removing the statue and required that a plywood encasement over the statue be removed or




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replaced with a transparent protective barrier, have been the subject of both national and

international interest.

        The Daily Beast article accurately reported the true facts that (a) Judge Patrick ordered

the plywood box covering the statue removed (and permitted it to be replaced with a clear

protective barrier), (b) she had participated in “an interview with supporters of the [QAnon]

conspiracy theory,” (c) she “was once allegedly on the speaker’s list for a QAnon-linked event,”

(d) she later “denied that she ever planned to attend a QAnon-affiliated event,” and

(e) notwithstanding her comments during her interview with the Prophetess, Judge Patrick had

“told the Inquirer she had no idea why she was listed as a speaker” for the event.

        Based on these indisputably true statements, the Daily Beast article also expressed

various opinions about the judge (including that she is “embroiled in her own drama” and is a

“QAnon-Linked Judge”) and about the hotly contested nature of the dispute over the statue

(describing it as both an “unhinged war” and an “increasingly unhinged battle”). Despite the

Daily Beast article’s demonstrably true statements and protected commentary, Judge Patrick

complains that the article casts her in a false light by characterizing her as a “QAnon-Linked

Judge,” and calls her “competency and objectivity as a jurist into question.” Compl. ¶ 22.

        Her claim fails on the merits and should be dismissed for three independent reasons:

            First, the characterization of Judge Patrick as a “QAnon-Linked Judge” reflects the

             Daily Beast Defendants’ protected opinion based on disclosed facts. The article notes

             her friendly interview with the Prophetess, her inclusion on the list of speakers for a

             QAnon-affiliated conference, and her later decision not to attend and to disavow the

             conference, allowing readers to draw their own conclusions about the nature and

             extent of her relationship with the group. An opinion based on such disclosed facts is




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            absolutely protected under both Pennsylvania law and the First Amendment.

           Second, to the extent the term “QAnon-Linked” can be read as a factual claim, it is

            true. Judge Patrick has been linked to QAnon, including through her interview with

            the Prophetess, through the inclusion of her campaign ad in that interview, and

            through the Prophet’s work trying to help her campaign. And the conference, which

            she evidently considered attending, unquestionably was “QAnon-Linked.” Because

            the statement on which a false light claim is based must first and foremost be false,

            her claim fails under Pennsylvania law and the First Amendment.

           Third, Judge Patrick is required under Pennsylvania law and the First Amendment to

            plead facts that, if proven, would constitute clear and convincing evidence of “actual

            malice”—i.e., that the Daily Beast Defendants knew the statements that Judge Patrick

            challenges were false or seriously doubted their truth, yet published them anyway.

            Because she has not done so (and cannot do so), her claim fails.

                                  FACTUAL BACKGROUND

A.     The Parties

       The Plaintiff, Judge Paula A. Patrick, has served as a judge on the Court of Common

Pleas of Philadelphia County since her election in 2003. Compl. ¶ 17. In 2021, she was also an

unsuccessful candidate in the Republican primary for a seat on the Pennsylvania Supreme Court.

Compl. Ex. A.

       The Daily Beast Company LLC is a Delaware limited liability company with its principal

place of business in New York. Decl. of Mia Lehmkuhl Libby (“Libby Decl.”) ¶ 2. It publishes

The Daily Beast, an online news and entertainment publication that reports and comments on

“politics, pop-culture, and power” to a national audience. See id. ¶ 3; see also About Us, The




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Daily Beast, https://www.thedailybeast.com/company/about-us. The Daily Beast is published

solely online. Id. The Daily Beast has no offices or assets in Pennsylvania, and just one

employee in Pennsylvania, who works remotely for the New York office editing national news

and who had no involvement in the article at issue in this case. Libby Decl. ¶¶ 5-6. As the

publication’s coverage is national and international in scope, only 3.87% of The Daily Beast’s

U.S. pageviews (and 3.53% of its U.S. advertising revenue) came from Pennsylvania in 2021.

Id. ¶¶ 8-9.

        Defendant Bradley has worked as a New York-based reporter for The Daily Beast since

2020. Decl. of Laura Bradley (“Bradley Decl.”) ¶ 3. She holds a Master’s degree in journalism

from Northwestern University’s Medill School of Journalism, and prior to joining The Daily

Beast was a journalist for Vanity Fair. Id. ¶¶ 2, 3. She has never lived or worked in

Pennsylvania, and does not recall ever having visited the Commonwealth. Id. ¶ 4. She prepared

the Daily Beast article entirely in New York, based on her review of news reports in other

reputable online publications, highlighting those aspects of the story that would be of interest to

The Daily Beast’s national audience. Id. ¶¶ 7, 8. It is undisputed that, in preparing the Daily

Beast article, Bradley made no calls into Pennsylvania and conducted no interviews in

Pennsylvania. Id. ¶ 9; Compl. ¶ 23.

B.      Judge Patrick’s Interactions with QAnon and Its Supporters

        Judge Patrick’s Complaint describes QAnon as a “crackpot and unhinged conspiracy

group.” Compl. ¶ 10. Her current characterizations aside, she has had significant interactions

with members of the group.

        On March 24, 2021, during her campaign for the Supreme Court, Judge Patrick




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participated in a video interview on a YouTube program called Up Front in the Prophetic.2 For

more than 40 minutes, Judge Patrick was interviewed by Francine Fosdick, whom she addressed

repeatedly as “Prophetess”:

       JUDGE PATRICK: Thank you so much Prophetess Francine. It’s just awesome
       to be here. I love you guys, and I’m so happy to have met you through Prophet
       Mark Taylor. You guys are tremendous, and I thank you so much for the
       opportunity to speak to your audience.

See Decl. of Ryan Relyea (“Relyea Decl.”) Ex. A at 3:05-3:18 (DVD of interview, Judge Paula

Patrick ~ PA Supreme Court, In the Prophetic (Mar. 24, 2021)).3 About halfway through the

interview, the Prophetess noted that Judge Patrick was “thinking about” attending an upcoming

QAnon-affiliated conference in June. Judge Patrick responded, “Yes,” and proceeded to

welcome the Prophetess’s support of her campaign:

       PROPHETESS: I’m excited that you are thinking about being at our upcoming
       event in June, at the end of June. Oh my gosh, guys, we need to rally, rally, rally
       with her, Hallelujah.

       JUDGE PATRICK: Yes.

       PROPHETESS: When is the election? In May, correct?

       JUDGE PATRICK: The election is May 18. So we need everyone who is a
       citizen of the Commonwealth of Pennsylvania; it doesn’t matter which county
       you’re in . . . it’s a statewide election. So, if you’re a Republican, we need your
       vote in the primary election, May 18th, Paula Patrick. . . . I want you to


2
  The Court may take judicial notice of Judge Patrick’s public interview statements because their
reliability “can be . . . readily determined from sources whose accuracy cannot reasonably be
questioned.” See Fed. R. Evid. 201; see, e.g., City of Phila. v. Sessions, 2018 U.S. Dist. LEXIS
69082, at *4 (E.D. Pa. Apr. 4, 2018) (taking judicial notice of public statements by elected
government officials).
3
 Although Judge Patrick’s interview was available on YouTube at the hyperlink
https://www.youtube.com/watch?v=T-IiU0hBqNc at the time the Daily Beast Defendants filed
their preliminary objections in the state court lawsuit on March 9, 2022, that video was removed
from YouTube prior to the filing of the Complaint in this action. A DVD containing a true and
correct copy of the video will be filed with the Clerk of the Court and provided to the Court and
counsel of record as Exhibit A to the Relyea Declaration.


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       understand the importance of just us pushing conservatives forward now.

       PROPHETESS: It’s critical. It’s life or death. This is where we’re at right now.
       And if you live here in Pennsylvania, and look at the other states that you’re
       living in, if there is a . . . Republican judge, conservative, that is running as well,
       maybe you should start supporting them, guys, I mean financially and with our
       vote. It is critical; it is critical at this time.

Id. at 23:48-25:30.

       Judge Patrick subsequently explained to The Inquirer (in the article that she challenged as

part of the state court lawsuit, see supra note 1) that five years earlier, she had met Mark Taylor,

an outspoken QAnon supporter and “self-described prophet,” and he was trying to help her

Supreme Court campaign. See Ex. 1 (Pa. C.C.P. Compl. at Ex. B).

       Consistent with her interview with the Prophetess, Judge Patrick appeared on a list of

speakers for the group’s June 2021 conference, “Patriots Arise, Awakening the Dead!,” to be

held in Gettysburg, Pennsylvania.4 When asked about that fact by reporters from The Inquirer,

she told them that she “didn’t plan to attend” the conference and asserted that she “had never

heard of it.” Ex. 1 (Pa. C.C.P. Compl. at Ex. B). She further “denied any tie to the group and

said she was ‘disturbed’ by the suggestion she had one.” Id. (stating that “[t]here’s no way I

would link myself to anything that would be questionable like that”).

C.     Prior News Coverage Reporting Judge Patrick’s QAnon Connections and Denials

       On April 29, 2021, nearly six months before the Daily Beast article was published, The

Inquirer published an article online bearing the headline, QAnon supporters listed a Philly judge

as a speaker at their event. She says she’s not going. See Ex. 1 (Pa. C.C.P. Compl. ¶ 7 & Ex.


4
 A flyer for that QAnon-affiliated conference that featured Judge Patrick’s name and photograph
was included in an article in the Pennsylvania Capital-Star. See Stephen Caruso, Mastriano, Pa.
Supreme Court candidate slated to appear at QAnon conference, Pa. Capital-Star (Apr. 28,
2021), https://www.penncapital-star.com/government-politics/mastriano-pa-supreme-court-
candidate-slated-to-appear-at-qanon-conference/ (attached as Ex. 2).


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B). The lede of The Inquirer article reads:

       A Philadelphia judge running for a seat on the state’s highest court on Thursday
       disavowed any connection to QAnon, after supporters of the conspiracy
       movement listed her as a featured speaker at their upcoming gathering in
       Gettysburg.

       Common Pleas Court Judge Paula Patrick said she wasn’t invited to the “Patriots
       Arise, Awakening the Dead!” event, didn’t plan to attend, and had never heard of
       it until she was asked about it by reporters on Wednesday.

Id. The next day, on April 30, 2021, The Inquirer published a nearly identical article in print,

entitled Judge disavows any QAnon link. See id. (Pa. C.C.P. Compl. ¶ 1 & Ex. A). The

Associated Press wire service picked up the story the same day, further distributing it. See Judge

running for high court disavows QAnon conspiracy, AP (Apr. 30, 2021),

https://apnews.com/article/conspiracy-courts-government-and-politics-

0eb0a8ffb6f9e84756f824663e3f5da4 (attached as Ex. 3).

       Although Judge Patrick disclaimed any connection to QAnon, telling The Inquirer that

“[t]here’s no way I would link myself to anything that would be questionable like that,” the

articles accurately reported that she had previously “appeared for an interview on a YouTube and

podcast show [Up Front in the Prophetic] hosted by the two conservative media personalities

organizing the June conference in Gettysburg.” See Ex. 1 (Pa. C.C.P. Compl. at Exs. A, B);

accord Ex. 3 (Associated Press report noting that Judge Patrick “sat for an interview” with the

“self-described prophets who are organizing the [Gettysburg] event”). The Inquirer also noted

that Judge Patrick had acknowledged that she had spoken with “Prophet” Taylor and that he was

trying to help her Supreme Court campaign. See Ex. 1 (Pa. C.C.P. Compl. at Ex. B). According

to that article, Mr. Taylor is “a self-described prophet from Florida and prominent QAnon

supporter,” who “wrote a book claiming God told him in 2011 that Donald Trump would be

elected president” and who was “featured in a movie called The Trump Prophecy.” Id.



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D.     National and International Coverage of Judge Patrick’s
       Rulings on the Columbus Statue

       Although Judge Patrick lost her primary bid for the Pennsylvania Supreme Court in May

2021, she remained in the news. She presided over a politically controversial lawsuit filed

against the City of Philadelphia and Mayor Jim Kenney by a group called the Friends of Marconi

Plaza. The lawsuit sought to block the planned removal of a Christopher Columbus statue in

South Philadelphia. Compl. ¶ 8 (calling the case “a controversial issue of public import”). Judge

Patrick issued a series of rulings about the statue. First, in August 2021, she ruled that the City’s

decision to remove the statue was unsupported by law and based on insufficient evidence. Then,

in October 2021, she ruled that the City, which had erected a plywood box encasing the statue,

must remove the box, and that a transparent protective barrier could be installed in its place.

Compl. ¶ 26 (stating that Judge Patrick ruled “against the Philadelphia Mayor’s incorrect actions

regarding the Columbus statue, instead following the law and ordering the removal of the

plywood covering of th[e] statue”). The rulings about the statue drew national and international

news coverage, including by The New York Daily News, the New York Post, NPR, the Associated

Press, and the UK-based Daily Mail.5



5
  See, e.g., Jessica Schladebeck, Phila. judge rules Christopher Columbus statue can remain in
plaza, N.Y. Daily News (Aug. 19, 2021), https://www.nydailynews.com/news/national/ny-
philadelphia-judge-christopher-columbus-statue-20210819-xqq3eq3fc5be3b3tntkcpjipwe-
story.html (attached as Ex. 4); Christina Coulter & Andrew Court, Judge rules 144-year-old
Christopher Columbus statue in Phila. can remain after city voted to remove it last July ‘without
any legal basis,’ Daily Mail (Aug. 18, 2021), https://www.dailymail.co.uk/news/article-
9906279/Judge-said-Columbus-statue-Philly-remain-city-voted-remove-without-legal-basis.html
(attached as Ex. 5); Patrick Reilly, Philadelphia Columbus statue to remain in box for parade,
judge rules, N.Y. Post (Oct. 10, 2021), https://nypost.com/2021/10/10/christopher-columbus-
statue-in-philadelphia-to-remain-in-box-for-parade-judge-rules/ (attached as Ex. 6). NPR
published an Associated Press article about Judge Patrick’s ruling. See AP, Judge Rules
Philadelphia Can’t Remove a Christopher Columbus Statue, NPR (Aug. 18, 2021),
https://www.npr.org/2021/08/18/1029077566/christopher-columbus-statue-philadelphia-judge
(attached as Ex. 7). A court may take judicial notice of news articles pursuant to Federal Rule of


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E.     The Daily Beast Article

       Months after the controversy over Judge Patrick’s links to QAnon and the conclusion of

her unsuccessful campaign for the Supreme Court, and well into the controversy over the

Columbus statue, the Daily Beast published the article at issue on October 9, 2021. Written by

Bradley and bearing a New York dateline, it commented on Judge Patrick’s ruling the day before

in the “unhinged war” over the statue. Compl. Ex. A. The article was titled QAnon-Linked

Judge Rules in Unhinged War Over Philly’s Columbus Statue, and bore the subheadline, After a

lawyer threatened to tear down a plywood box covering the statue himself, Judge Paula Patrick

ruled that it must remain visible to the public. Compl. ¶ 4 & Ex. A. The body of the Daily Beast

article hyperlinked to articles in a number of other reputable news publications, including The

Inquirer, 6ABC Action News, and CBS3 Philly, as sources for the article’s information about

Judge Patrick’s rulings and the statue controversy.6

       In addition to the headline’s reference to Judge Patrick as a “QAnon-Linked Judge” and

the statue controversy as an “Unhinged War,” the first paragraph of the Daily Beast article

further signaled that it was conveying opinion and commentary:

       It’s hard to imagine being more in need of a hobby than the members of a group
       called Friends of Marconi Plaza. According to the Philadelphia Inquirer,7 the

Evidence 201. See Ieradi v. Mylan Labs, Inc., 230 F.3d 594, 598 n.2 (3d Cir. 2000) (taking
judicial notice of newspaper article) (citing Peters v. Del. River Port Auth., 16 F.3d 1346, 1356-
57 (3d Cir. 1994) (“While not critical to our holding, we take judicial notice of newspaper
accounts highlighting controversies over the DRPA’s toll increases, spending practices, and
public announcements.”)).
6
  The Daily Beast article remains available online as originally published. See
https://www.thedailybeast.com/qanon-linked-judge-rules-in-war-over-columbus-statue-and-
plywood-box-in-philadelphia?ref=scroll. Accessing the online version enables readers, as well
as the Court, to access the news sources hyperlinked in the article, links which are unavailable in
the LEXIS version of the article attached to the Complaint.
7
  In the online version of the Daily Beast article, the words “Philadelphia Inquirer” in this
passage hyperlink to an Inquirer article, one that Judge Patrick did not challenge in her earlier
state court lawsuit. See Laura McCrystal & Sean Collins Walsh, A judge ordered Phila. to


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       local group has taken up the most noble of crusades—fighting to defend a statue
       dedicated to Christopher Columbus. And on Friday a judge who was once
       allegedly on the speaker’s list for a QAnon-linked event ruled that the plywood
       box covering the statue must be removed.

Id. The Daily Beast article accurately set out the basis for its characterization of Judge Patrick as

“QAnon-Linked” and its statement that she had been “embroiled in her own drama,” including

that: (a) she had participated in “an interview with supporters of the [QAnon] conspiracy

theory,” (b) she “was once allegedly on the speaker’s list for a QAnon-linked event,” (c) she later

“denied that she ever planned to attend a QAnon-affiliated event,” and (d) she had “told the

Inquirer she had no idea why she was listed as a speaker” for the event. Id.

       Judge Patrick does not allege that she contacted the Daily Beast Defendants before filing

suit, and indeed, she did not.

F.     Judge Patrick’s Lawsuits Asserting Claims for False Light Invasion of Privacy

       Judge Patrick filed her state court lawsuit on February 16, 2022, alleging separate claims

of false light invasion of privacy against the Inquirer and its reporter (Count I) and the Daily

Beast Defendants (Count II). See Ex. 1 (Pa. C.C.P. Compl.). Notably, although The Inquirer

articles that she challenged in the state court lawsuit discuss both her interview with the

Prophetess and Prophet Taylor’s support for her Supreme Court campaign, her complaint did not

call into question the paper’s coverage of either topic. Id.

       On March 9, 2022, the Daily Beast Defendants filed preliminary objections as well as a

separate motion filed jointly with The Inquirer seeking appointment of an out-of-county judge.



remove the plywood box covering the Christopher Columbus statue in Marconi Plaza, Phila.
Inquirer (Oct. 9, 2021), https://www.inquirer.com/news/columbus-statue-south-philly-marconi-
plaza-20211008.html (attached as Ex. 8). This article states: “The judge, a Republican, faced
criticism earlier this year when she was listed as a speaker at a Gettysburg event linked to the
QAnon conspiracy theory. Patrick, however, said she never planned to attend the event and
didn’t know why she was listed as a speaker.” Id.


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On March 15, 2022, the Chief Judge of the Court of Common Pleas appointed The Honorable

Edward D. Reibman of Lehigh County to preside over the case. Three days later, on March 18,

2022, Judge Patrick withdrew her state court lawsuit. See Ex. 9 (Praecipe to

Withdraw/Discontinue Without Prejudice).

       On April 20, 2022, Judge Patrick filed her Complaint in this action. A substantial

number of the allegations are identical to the prior complaint. Compare Compl., with Ex. 1 (Pa.

C.C.P. Compl.). Although The Inquirer is not part of this lawsuit, the Complaint nevertheless

blames the Daily Beast Defendants for “us[ing] the false light into which Judge Patrick was

placed by the Inquirer’s flawed reporting to further its own agenda and malign Judge Patrick.”

Compl. ¶ 21. As in her prior state court lawsuit, Judge Patrick’s sole claim against the Daily

Beast Defendants is based on the characterization of her as a “QAnon-Linked Judge” in the

article’s headline and the statement in the first paragraph that she “was once allegedly on the

speaker’s list for a QAnon-linked event.” Compl. ¶ 22; see also Compl. Ex. A.

                                          ARGUMENT

I.     THE COURT LACKS PERSONAL JURISDICTION
       OVER THE DAILY BEAST DEFENDANTS.

       This action should be dismissed because neither of the Daily Beast Defendants has

contacts with Pennsylvania sufficient for this Court to exercise jurisdiction over them. In that

regard, “[e]ach defendant’s contacts with the forum State must be assessed individually.”

Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 781 n.13 (1984); see also Bochan v. La

Fontaine, 68 F. Supp. 2d 692, 699 n.25 (E.D. Va. 1999) (“A publisher’s contacts must be

evaluated separately from an author’s contacts; jurisdiction does not necessarily exist over an

author even where it does exist over a publisher.”).

       The Daily Beast is a Delaware limited liability company with its principal place of



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business in New York. Libby Decl. ¶ 2. It has never had a Pennsylvania office, has no assets in

Pennsylvania, and has one Pennsylvania employee who works remotely for the New York office

(and who had no involvement in the article at issue). Id. ¶¶ 5-6. It publishes The Daily Beast, a

national news and entertainment publication, solely online. Id. ¶ 3. It targets its content at a

national audience, with readers across the country. Id. Approximately 3.87% of The Daily

Beast’s U.S. page views (and, to the extent relevant, 3.53% of its U.S. advertising revenue) can

be tied to its Pennsylvania audience. Id. ¶¶ 8-9. These figures are commensurate with the

percentage of the U.S. population—3.9%—who reside in Pennsylvania, id. ¶ 7, demonstrating

that The Daily Beast does not specifically target a Pennsylvania audience. None of The Daily

Beast’s limited contacts are sufficient to satisfy due process requirements. See id. ¶¶ 5-9. As

explained below, this Court cannot exercise general jurisdiction over The Daily Beast, and its

contacts are insufficient to establish specific jurisdiction, which focuses “on the defendant’s suit-

related conduct.” Walden v. Fiore, 571 U.S. 277, 284 (2014) (emphasis added).

       For her part, Ms. Bradley has no connection to Pennsylvania at all. She has never lived

nor worked in Pennsylvania, and cannot recall having ever visited the Commonwealth. Bradley

Decl. ¶ 4. She prepared the article at issue exclusively in New York. Id. ¶ 8. She made no

telephone calls to anyone in Pennsylvania, sent no emails to anyone in Pennsylvania, conducted

no interviews in Pennsylvania, and had no other contact with Pennsylvania in connection with

the preparation of the article. See id. ¶¶ 8, 9; Compl. ¶ 23. Writing for The Daily Beast’s

national audience, she relied on other reputable news sources that she reviewed online and

hyperlinked to in the article. Bradley Decl. ¶ 8.

       A federal court is authorized to exercise personal jurisdiction in accordance with the law

of the state where it is located, in this case Pennsylvania. See Marten v. Godwin, 499 F.3d 290,




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296 (3d Cir. 2007). Pennsylvania’s long-arm statute, in turn, provides for jurisdiction over non-

residents to the “fullest extent allowed under the Constitution of the United States.” 42 Pa. C.S.

§ 5322(b). Accordingly, this Court may exercise jurisdiction over the Daily Beast Defendants

only if each of them has “certain minimum contacts with [Pennsylvania] such that the

maintenance of the suit does not offend traditional notions of fair play and substantial justice.”

Marten, 499 F.3d at 296. On a motion to dismiss for lack of personal jurisdiction under Rule

12(b)(2), the plaintiff bears the burden of proving personal jurisdiction and must do so by

“establishing with reasonable particularity sufficient contacts between the defendant and the

forum state.” Mellon Bank (E.) PSFS v. Farino, 960 F.2d 1217, 1223 (3d Cir. 1992).

          To meet her burden, Judge Patrick must come forward with facts demonstrating either

(1) general jurisdiction, meaning contacts “so ‘continuous and systematic’ as to render [the Daily

Beast Defendants] essentially at home in” Pennsylvania, Daimler AG v. Bauman, 571 U.S. 117,

127 (2014), or (2) specific jurisdiction, meaning she must show that the Daily Beast Defendants

“purposefully directed [their] activities at the forum,” such that jurisdiction “comports with fair

play and substantial justice,” Marten, 499 F.3d at 296 (internal marks omitted). She cannot do

either.

          A.     No General Jurisdiction. The Complaint does not—and cannot—allege that the

Court has general personal jurisdiction over either of the Daily Beast Defendants. Judge Patrick

has pleaded no facts that would demonstrate the Daily Beast Defendants are “essentially at home

in” Pennsylvania, as would be necessary to establish general jurisdiction “to hear any and all

claims against” against them in this Court. Daimler, 571 U.S. at 127.

          For out-of-state corporate defendants like The Daily Beast Company LLC, general

jurisdiction is found only where a corporation’s connections are “so continuous and systematic




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as to render them essentially at home in the forum State.” Goodyear Dunlop Tires Operations,

S.A. v. Brown, 564 U.S. 915, 919 (2011). Typically, the only states where a corporate defendant

will be “at home” are its place of incorporation and its principal place of business—here, New

York. Daimler, 571 U.S. at 137; see also Malik v. Cabot Oil & Gas Corp., 710 F. App’x 561,

564 (3d Cir. 2017) (“[I]t is incredibly difficult to establish general jurisdiction over a corporation

in a forum other than the place of incorporation or principal place of business.”) (internal marks

omitted).

       The same limitation applies to individual defendants such as Ms. Bradley. Indeed, “the

paradigm forum for the exercise of general jurisdiction is the individual’s domicile”—here, New

York—which forecloses the exercise of general jurisdiction over her in Pennsylvania.

Goodyear, 564 U.S. at 924.

       B.      No Specific Jurisdiction. The Complaint makes the conclusory allegation that

the Defendants “targeted” their statements “directly toward” Pennsylvania, including by

“publish[ing] their defamatory statements in Philadelphia County, Pennsylvania where they

targeted their unlawful scheme.” Compl. ¶¶ 15, 16. Not only do those threadbare allegations

reference a tort that is not at issue (defamation), but they fundamentally misapprehend the law on

specific jurisdiction in the context of an out-of-state Internet publication. Ruffing v. Wipro Ltd.,

529 F. Supp. 3d 359, 364 (E.D. Pa. 2021) (to establish “a prima facie case of personal

jurisdiction . . . the plaintiff must allege specific facts rather than vague or conclusory

assertions”) (internal marks and citation omitted). The fact that the Daily Beast Defendants, like

several other national and international publications, published an online article about a

Philadelphia case to a national audience is insufficient to establish specific personal jurisdiction.

See Walden, 571 U.S. at 290 (“The proper question is not where the plaintiff experienced a




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particular injury or effect but whether the defendant’s conduct connects [it] to the forum in a

meaningful way.”). Because the Daily Beast Defendants’ “suit-related conduct” did not “create

a substantial connection” with Pennsylvania, id. at 284, this action should be dismissed for lack

of personal jurisdiction. Hepp v. Facebook, 14 F.4th 204, 207 (3d Cir. 2021) (defendant’s

contacts with the forum “must give rise to—or relate to—plaintiff’s claims”).

       When addressing personal jurisdiction in the context of an online publication, the focus is

not on whether residents of the forum state can access an out-of-state website or other digital

platform. Rather, this Court examines whether the defendant’s conduct was “expressly aimed”

at the Commonwealth.8 Gorman v. Jacobs, 597 F. Supp. 2d 541, 547 (E.D. Pa. 2009); see also

Fatouros v. Lambrakis, 627 F. App’x 84, 87-88 (3d Cir. 2015) (broadcasts and publications that

could be accessed over the internet in New Jersey were insufficient to establish specific

jurisdiction in that state absent evidence that they targeted New Jersey); D’Onofrio v. Mattino,

430 F. Supp. 2d 431, 443 (E.D. Pa. 2006) (“[T]he mere fact that Defendants published their

articles nationwide and that some ended up in Pennsylvania is not sufficient to confer jurisdiction

over Defendants.”). Thus, to establish personal jurisdiction in Pennsylvania, “something about

the web site must suggest to the user that residents of the forum state are the target audience.”

Gorman, 597 F. Supp. 2d at 548. Put another way, even if the subject of an article is a forum

resident, the relevant question is whether the publication targets the forum state’s audience. Id.

There is simply no evidence, on the face of its website or elsewhere, that The Daily Beast



8
 Only after a court determines that the defendant’s conduct was “expressly aimed” at
Pennsylvania does it consider two other factors related to personal jurisdiction, (i) whether the
complaint successfully alleges an intentional tort, and (ii) whether the forum state was where the
plaintiff suffered any damages. See Goldfarb v. Kalodimos, 539 F. Supp. 3d 435, 452 (E.D. Pa.
2021) ( “Only if the ‘expressly aimed’ element of the effects test is met need we consider the
other two elements.” (quoting Marten, 499 F.3d at 297-98)).


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“targeted” a Pennsylvania audience as the Complaint alleges in merely conclusory fashion.

Compl. ¶ 15.

       The absence of connections to Pennsylvania cannot be overcome by the mere fact that the

subject of the Daily Beast article is a Philadelphia controversy. Publishing an article of national

interest about events in Philadelphia—as other New York-based publications and the London-

based Daily Mail, among others, have done, see Exs. 7 & 8—is, without more, insufficient to

confer jurisdiction. In Gorman, the Court ruled that it could not exercise jurisdiction over out-

of-state defendants where online comments in a podiatry forum were explicitly about a

Pennsylvania doctor and malpractice payments made in the Commonwealth. 597 F. Supp. 2d at

543-44. Focusing instead on whether “the forum was the intended target of the statement,” the

court emphasized that the online podiatry forum was a national website, and “everything about

the web site confirms that it is directed to the national podiatry community at large.” Id. at 549-

50.

       Applying these principles, courts throughout the country have routinely dismissed cases

on jurisdictional grounds where a widely-available publication was not specifically aimed at the

forum state, even where the challenged publication was about a person or event located within

the forum. See, e.g., Johnson v. Arden, 614 F.3d 785, 796-97 (8th Cir. 2010) (even though

challenged postings referenced forum state, court concluded they were not posted “for the very

purpose of having their consequences felt in Missouri”) (internal marks omitted); Young v. New

Haven Advocate, 315 F.3d 256, 258-59 (4th Cir. 2002) (Connecticut-based newspapers “did not

manifest an intent to aim their websites or the posted articles at a Virginia audience” even though

articles concerned a Virginia prison warden); Alexander v. Diet Madison Ave., 473 F. Supp. 3d

551, 558 (E.D. Va. 2020) (noting that courts have “rejected the argument that nonresident news




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organizations open themselves up to suit in a state simply by publishing online articles about that

state’s residents”); Blankenship v. Napolitano, 451 F. Supp. 3d 596, 622-23 (S.D. W. Va. 2020)

(“It would not be reasonable for [individual defendants] to anticipate being haled into a West

Virginia court on the basis of comments in a broadcast about political issues across several states

aimed at a national audience.”). Because the Daily Beast Defendants’ article was drafted and

published in New York for a national audience, without any contacts into Pennsylvania sufficient

to establish specific personal jurisdiction, this action should be dismissed. Libby Decl. ¶¶ 4, 10;

Bradley Decl. ¶¶ 4-10.9

II.       JUDGE PATRICK’S FALSE LIGHT CLAIM AGAINST THE
          DAILY BEAST DEFENDANTS FAILS AS A MATTER OF LAW.

          Judge Patrick’s false light claim against the Daily Beast Defendants should also be

dismissed because it fails to state a claim for three independent reasons. First, the Daily Beast

article’s characterization of Judge Patrick as “QAnon-Linked” is an expression of opinion based

on fully disclosed facts. Second, to the extent that the article’s description of Judge Patrick as

“QAnon-Linked” could somehow be considered a verifiable statement of fact rather than a

characterization of her interview with the Prophetess and related events, it is substantially true


      9
      The consequences of the jurisdictional question are particularly significant here. While
this Court applies Pennsylvania’s choice-of-law principles and is likely to apply Pennsylvania
law in assessing Judge Patrick’s claims, a New York court would apply New York choice-of-law
principles. See Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 494 (1941). Under those
principles, there is compelling authority that, in a case such as this, the substantive law of New
York would apply—as it is the state where the article was published and a state with especially
strong protections for freedom of speech and of the press. See, e.g., Berwick v. New World
Network Int’l, Ltd., 2007 U.S. Dist. LEXIS 22995, at *7 (S.D.N.Y. Mar. 28, 2007) (applying
New York law to Pennsylvania plaintiff’s defamation claim); Grass v. News Grp. Publ’ns, Inc.,
570 F. Supp. 178, 185 (S.D.N.Y. 1983) (same). If New York law applied, Plaintiff would have
no claim because New York does not recognize the false light tort. See, e.g., Catalanello v.
Kramer, 18 F. Supp. 3d 504, 511 (S.D.N.Y. 2014) (stating that “New York does not” recognize
the tort of false light invasion of privacy); Freeman v. Johnston, 192 A.D.2d 250, 253 (N.Y.
App. Div. 1st Dep’t 1993) (same).


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and therefore cannot be the subject of a false light claim. Finally, Judge Patrick has not, and

cannot, plead facts that, if proven, would constitute clear and convincing evidence that the Daily

Beast Defendants published the statements in question with actual malice—i.e., with knowledge

of their falsity or a high degree of awareness of their probable falsity. For each of these reasons,

Judge Patrick’s false light invasion of privacy claim against the Daily Beast Defendants fails as a

matter of law.

       A.        The Daily Beast Article’s Characterization of Judge Patrick as
                 “QAnon-Linked” Constitutes Protected Opinion.

       Judge Patrick’s claim against the Daily Beast Defendants is premised entirely on the

Daily Beast article’s characterization of her as “QAnon-Linked.” See, e.g., Compl. ¶ 22

(asserting that the article “maligns Judge Patrick by affirmatively asserting a link between Judge

Patrick and Q’Anon in the headline, and further maligns her by adding the irrelevant and

knowingly false ‘Q’Anon link’ in the body of the story to put Judge Patrick’s competency and

objectivity as a jurist into question”). Only provably false statements—not expressions of

opinion—can serve as the basis for a false light claim. See McCafferty v. Newsweek Media Grp.,

Ltd., 955 F.3d 352, 360 (3d Cir. 2020) (affirming dismissal of false light claim because the

challenged statements expressed “opinions based on disclosed facts”); see also Sprague v.

Porter, 2013 Phila. Ct. Com. Pl. LEXIS 368, at *70 (Nov. 1, 2013), aff’d, 2014 Pa. Super.

Unpub. LEXIS 1659 (Aug. 26, 2014). Whether a statement is one of objective fact or subjective

opinion is a threshold question of law. See, e.g., Kerrigan v. Otsuka Am. Pharm., Inc., 560 F.

App’x 162, 168 (3d Cir. 2014). In Pennsylvania, statements of opinion are protected both under

the First Amendment’s requirement that a statement must be provably false to be actionable and

under Pennsylvania’s common law. See, e.g., Bogash v. Elkins, 176 A.2d 677, 679 (Pa. 1962)

(“Statements which represent differences of opinion or are annoying or embarrassing, are,



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without more, not libelous.”).10

         The Third Circuit’s opinion in McCafferty underscores the point that ascribing

ideological, political, or similar labels to a plaintiff is a matter of non-actionable opinion where,

as here, the facts supporting the characterization are fully disclosed. See McCafferty, 955 F.3d at

358, 360 (professor’s statements in a Newsweek article that the “hard right” was using two child

Trump supporters to “defend[] raw racism and sexual abuse,” where facts supporting that

characterization were disclosed, were non-actionable opinions that could not support a claim for

false light). In reaching that conclusion, the McCafferty court observed that “[p]olitical

discourse can be bruising,” but that consistent with the First Amendment, “[t]he price of free

speech is putting up with all sorts of name-calling and hurtful rhetoric.” Id. at 355; see also id. at

359 (“Everyone is free to speculate about someone’s motivations based on disclosed facts about

that person’s behavior.”).

         McCafferty in turn relied on the Commonwealth Court’s decision in Balletta v. Spadoni,



    10
        The Daily Beast Defendants assume for purposes of this motion that Pennsylvania law
governs Judge Patrick’s claim for false light, because if New York law applied, she would have
no claim. See supra note 10. However, they reserve the right to invoke defenses, privileges, and
immunities conferred by New York law. In that regard, Pennsylvania’s “choice of law analysis
is issue-specific,” such that “different states’ laws may apply to different issues in a single case, a
principle known as ‘depecage.’” Berg Chilling Sys., Inc. v. Hull Corp., 435 F.3d 455, 462 (3d
Cir. 2006) (citation omitted). Applying this principle would include, for example, consideration
of New York’s Anti-SLAPP statute, which provides for the recovery of “damages, including
costs and attorney’s fees” that result from having to defend against a meritless “action involving
public petition and participation,” N.Y. Civ. Rights Law §§ 70-a(1), 76-a(1)(a), such as “the
exercise of the constitutional right of free speech in connection with an issue of public interest,”
id. § 76-a(1)(a)(2). See also, e.g., Palin v. New York Times Co., 510 F. Supp. 3d 21, 25
(S.D.N.Y. 2020); Wood Servs. v. Disability Advocates, Inc., 342 F. Supp. 3d 592, 608-10 (E.D.
Pa. 2018) (denying in relevant part plaintiff’s motion to dismiss defendant’s counterclaim under
earlier version of New York’s Anti-SLAPP statute). The Daily Beast Defendants reserve the
right to seek recovery of their attorneys’ fees incurred in connection with the defense of this
action, which may be pursued in a separate “action [or] claim” or in a “cross claim or
counterclaim.” N.Y. Civ. Rights Law § 70-a(1).


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47 A.3d 183 (Pa. Commw. 2012), which emphasized the same point. McCafferty, 955 F.3d at

359 (citing Balletta). There, a number of plaintiffs asserted claims based on an article that

characterized them as “anarchists” and “fellow travelers of antigovernment groups such as the

Sovereign Citizen, Posse Comitatus and Liberty Dollar movements.” Balletta, 47 A.3d at 189.

The court held that the statements were non-actionable opinions because “the article fully

disclose[d] the facts upon which” the characterizations of the plaintiffs’ ideological or political

affiliations were based. Id. at 199. The McCafferty court also cited Jones v. City of Phila., 73

Pa. D.&C.4th 246, 257 (Phila. C.C.P. May 19, 2005), aff’d, 893 A.2d 837, 844-45 (Pa. Commw.

2006), in which the court held that labelling plaintiff as “anti-Semitic” could not support a false

light claim where the facts on which that characterization was based had been disclosed, and

emphasized that such opinions are “absolutely privileged” even when they are “extremely

derogatory.” 955 F.3d at 357.

       This analysis applies here with equal force. The Daily Beast article disclosed the basis

for its characterization of Judge Patrick as “QAnon-Linked.” In particular, the article explained

that Judge Patrick was “once allegedly on the speaker’s list for a QAnon-linked event,” though

she “denied planning to attend.” Compl. Ex. A. The article further noted that she had sat for “an

interview with supporters of the conspiracy theory,” referring to the nearly 45-minute interview

with Up Front in the Prophetic, in which Judge Patrick repeatedly called the host “Prophetess”

and in which, when the Prophetess referenced her invitation to attend the group’s upcoming

event, Judge Patrick responded, “Yes.” Compl. Ex. A. Thus, the Daily Beast article’s

characterization of Judge Patrick as “QAnon-Linked” is a protected opinion based on those

disclosed facts.

       The context of the Daily Beast article further supports the conclusion that its




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characterization of Judge Patrick is protected opinion. The article alludes to Judge Patrick’s

interactions with persons from the QAnon movement in the context of reporting in a critical

manner on her ruling in a politically controversial case. Courts routinely reject claims in which

judges complain about criticism of their decision-making on the ground that such criticism

constitutes protected opinion. See, e.g., Standing Comm. on Discipline of U.S. Dist. Ct. v.

Yagman, 55 F.3d 1430, 1440-41 (9th Cir. 1995) (lawyer’s criticisms of judge as “dishonest,”

“ignorant,” “ill-tempered,” “buffoon,” “sub-standard human,” “right-wing fanatic,” “bully,” and

“one of the worst judges in the United States” were statements of opinion); Dodds v. ABC, 145

F.3d 1053, 1066-68 (9th Cir. 1998) (statements that judge was “one of the three worst judges in

the country” and “unfit” for office are protected opinion); Rappaport v. VV Publ’g Corp., 637

N.Y.S.2d 109, 110 (N.Y. App. Div. 1st Dep’t 1996) (statement that judge was “biased” is

opinion); Ferreri v. Plain Dealer Publ’g Co., 756 N.E.2d 712, 721 (Ohio Ct. App. 2001)

(statements describing judge’s conduct as “scandalous,” stating he was “beyond the call of

reason,” and accusing him of “car[ing] a good deal more about himself and his image than

children” are protected opinions).

       The overall tenor of the Daily Beast article further underscores that the description

“QAnon-Linked” would be understood as an expression of opinion. Throughout, the article uses

colorful turns of phrase to signal that it is not merely reporting, but also commenting, on the

topics at issue. Examples include the article’s references to an “unhinged war” and an “unhinged

battle” over the Columbus statue and its sarcastic descriptions of the Friends of Marconi Plaza as

“in need of a hobby” and having “taken up the most noble of crusades.” Where, as here, an

article includes such signals, readers understand that phrases like these—and “QAnon-Linked”—

are properly understood as expressions of opinion, not statements of fact. See, e.g., McCafferty,




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955 F.3d at 359 (“[I]f it is plain that the speaker is expressing a subjective view, an

interpretation, a theory, conjecture, or surmise, rather than claiming to be in possession of

objectively verifiable facts, the statement is not actionable.”) (quoting Haynes v. Alfred A. Knopf,

Inc., 8 F.3d 1222, 1227 (7th Cir. 1993)); Mann v. Abel, 885 N.E.2d 884, 886 (N.Y. 2008)

(explaining that “the tenor of the column, including allegations that Mann was a ‘political

hatchet Mann’ who appeared to ‘pull[] the strings,’ clearly signals the reader that the piece is

likely to be opinion, not fact”).

        The bottom line is that, while Judge Patrick may disagree that her undisputed interactions

with persons affiliated with the QAnon movement warrant the characterization of her as

“QAnon-Linked,” her disagreement with the Daily Beast Defendants’ choice of words cannot

override their right to characterize the disclosed facts in this way. Those who run for and hold

public office are routinely subject to expressions of opinion by the press and public. Judge

Patrick cannot premise a false light claim on critical speech about her ideological affiliations and

controversial judicial rulings, as they are at the heart of the constitutional protection for

expressions of opinion.

        B.      The Daily Beast Article Provides an Accurate Account of Judge Patrick’s
                Interactions with the QAnon Movement.

        Even assuming that characterizing Judge Patrick as “QAnon-Linked” could somehow be

understood as a statement of fact—rather than a protected expression of opinion—the article

would be non-actionable for the separate reason that the article’s description of her is

substantially true. There is no question that Judge Patrick had publicly welcomed the support of

people known to be affiliated with the QAnon movement and was open to attending, as a sitting

judge running for election to the state’s highest court, a QAnon-affiliated conference for which

she was on the speakers list. Indeed, her interview with the Prophetess ended with one of her



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campaign promotional videos, further underscoring a “link” to the movement. To summarize

that set of facts, or to characterize her as having “links” to QAnon, is entirely accurate. That

Judge Patrick later found it necessary or expedient to disavow the connection cannot negate the

fact that there was such a “link.”

       As a threshold matter, “in Pennsylvania, falsity means the same thing for false light as it

does for defamation.” McCafferty, 944 F.3d at 360. That is, a false light claim requires a

“highly offensive false statement.” Santillo v. Reedel, 634 A.2d 264, 266 (Pa. Super. 1993)

(emphasis added). Thus, a false light plaintiff must adequately “allege[] a falsity” to state a

claim. Jones, 893 A.2d at 844-45 (affirming order sustaining preliminary objections on false

light claim based on failure to satisfy “the falsity element”); see also Dowling v. Phila.

Newspapers, Inc., 1995 Phila. Cty. Rptr. LEXIS 13, at **24 (Phila. C.C.P. Feb. 6, 1995)

(dismissing false light claim because challenged news report was substantially true), aff’d, 665

A.2d 1304 (Pa. Super. 1995). As the Pennsylvania Superior Court explained in the analogous

defamation context, “[t]he law does not require perfect truth, so long as any inaccuracies do not

render the substance and ‘gist’ of the statements untrue.” ToDay’s Hous. v. Times Shamrock

Commc’ns, Inc., 21 A.3d 1209, 1215 (Pa. Super. 2011). Thus, a plaintiff cannot state a claim

where the “gist” or “sting” of the challenged statement is substantially true, and a “statement is

not considered false unless it ‘would have a different effect on the mind of the reader from that

which the pleaded truth would have produced.’” Masson v. New Yorker Magazine, Inc., 501

U.S. 496, 516-17 (1991) (citation omitted).

       Judge Patrick has not alleged any facts contradicting her links to QAnon as accurately

described in the Daily Beast article and the articles to which it hyperlinks, see supra note 7. In

particular, the Daily Beast article accurately states, and Judge Patrick does not dispute, that she




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participated in “an interview with supporters of the [QAnon] conspiracy theory,” and that she

“was once allegedly on the speaker’s list for a QAnon-linked event.” Compl. Ex. A. Judge

Patrick also has not taken issue with The Inquirer’s reporting that the website of “Up Front in the

Prophetic,” the organization that interviewed her, is “full of references to QAnon and the

PizzaGate conspiracy theory that emerged during the 2016 campaign that Hillary Clinton and her

associates were running a child sex-trafficking ring out of a pizza shop in Washington.” See Ex.

1 (Pa. C.P. Compl. Ex. B). Nor does she dispute that she consulted with Prophet Mark Taylor, a

prominent QAnon leader, id., or that her campaign video played at the end of her interview with

the Prophetess.

       Judge Patrick’s core contention appears to be that the Daily Beast article’s

characterization of her as having a link to QAnon is false because she ultimately denied it—i.e.,

because she says it is false. But the article accurately reports her denials as well. Compl. Ex. A.

In any event, the Superior Court’s analysis in Santillo makes clear that Judge Patrick cannot base

a false light claim on her mere denial of connections to QAnon or its supporters. In that case, a

former police officer who had run for the office of district justice in Montgomery County

asserted a false light claim based on reporting about an incident in which he had been accused of

making unwanted sexual advances toward a teenager. 634 A.2d at 265. The incident was

ultimately resolved when the girl’s mother agreed not to press charges or sue if the officer

resigned from the police force. Id. In his lawsuit, the plaintiff did not dispute the reported facts

regarding the incident. Id. at 266-67. He nonetheless insisted that he had been cast in a false

light because, when representatives of his police department discussed in the article his

resignation from the police force, no mention was made of the fact that he “also received

commendations as a police officer.” Id. at 267. The court rejected that argument, holding, as




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relevant here, that a false light claim cannot be premised simply on a defendant’s decision not to

recount the facts in a manner that would have cast the plaintiff in a better light. Id.

        The same reasoning applies here. The Daily Beast Defendants’ editorial decisions, in

describing a QAnon link while also accurately reporting that Judge Patrick opted not to attend

the conference, cannot support a false light claim. As Judge Patrick told The Inquirer, perhaps

she should have been “more diligent” and “investigated more” before engaging with fringe

conspiracy theorists if she did not wish to be accurately “linked” to them. See Ex. 1 (Pa. C.P.

Compl. Ex. B). But where, as here, those facts are accurately reported, there is no falsity.

While, like the police officer in Santillo, Judge Patrick might have preferred to have been cast in

a better light, she has no claim that she was cast in a false light.

        C.      Judge Patrick Does Not and Cannot Plead That the Daily Beast
                Defendants Published the Article with Actual Malice.

        Judge Patrick is required under Pennsylvania law and the First Amendment to plead facts

that, if proven, would establish by clear and convincing evidence that the Daily Beast Defendants

published the challenged statement with actual malice, i.e., that they either knew their statements

were false or that they had a high degree of awareness that the statements were probably false,

yet published anyway. McCafferty, 955 F.3d at 360 (dismissing false light claim for failure to

plead actual malice). Because Judge Patrick has not—and cannot—do so here, her false light

claim against the Daily Beast Defendants fails as a matter of law for this reason as well.

        To prevail on a false light claim, a plaintiff must show that the publisher of the alleged

falsehood acted “with knowledge or in reckless disregard” of the falsity of the matter at issue.

Graboff v. Colleran Firm, 744 F.3d 128, 136 (3d Cir. 2014) (citing RESTATEMENT (SECOND) OF

TORTS § 652E (1979)). This is identical to the well-known “actual malice” standard set forth in

New York Times Co. v. Sullivan, 376 U.S. 254 (1964), which governs defamation claims brought



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by public officials like Judge Patrick. See, e.g., Coleman v. Ogden Newspapers, Inc., 142 A.3d

898, 905-06 (Pa. Super. 2016) (false light claim requires same showing of actual malice as

applies to public-figure defamation claims); Sprague, 2013 Phila. Ct. Com. Pl. LEXIS 368, at

*69-70 (“Just as with claims for defamation, a false-light tort incorporates the First

Amendment’s constitutional protections set forth in New York Times v. Sullivan and its

progeny.”) (internal marks omitted).

         Significantly, the actual malice “standard is a subjective one, based on the defendant’s

actual state of mind.” Schiavone Constr. Co. v. Time, Inc., 847 F.2d 1069, 1089 (3d Cir. 1988).

For there to be actual malice, the defendant must have “actually doubt[ed] the veracity of the

article.” Lee v. TMZ Prods. Inc., 710 F. App’x 551, 560 (3d Cir. 2017) (citation omitted). Thus,

“reckless disregard” of the truth cannot be equated with “recklessness” in the more familiar sense

of an “extreme departure from professional standards.” Tucker v. Fischbein, 237 F.3d 275, 286

(3d Cir. 2001). Indeed, an alleged departure from standard journalistic practices is insufficient to

establish actual malice, id., as the law is “clear that reckless conduct [under the Sullivan

standard] is not measured by whether a reasonably prudent man would have published, or would

have investigated before publishing.” St. Amant v. Thompson, 390 U.S. 727, 730-31 (1968). In

addition, the concept of actual malice “should not be confused with the concept of malice as an

evil intent or a motive arising from spite or ill will.” Masson, 501 U.S. at 510. As the Third

Circuit has instructed, “‘neither . . . ill will, bias, spite, nor prejudice . . . [is] sufficient to

establish either a knowledge of the falsity of, or a reckless disregard of, the truth or falsity of the

materials used.’” St. Surin v. Virgin Islands Daily News, Inc., 21 F.3d 1309, 1317 (3d Cir.

1994).

         Under the pleading rules established by the Supreme Court, when actual malice is an




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element of a claim, a plaintiff is required to plead more than “actual-malice buzzwords.” Schatz

v. Republican State Leadership Comm., 669 F.3d 50, 56 (1st Cir. 2012); see also Reese v. Pook

& Pook, LLC, 158 F. Supp. 3d 271, 289 (E.D. Pa. 2016) (“[M]erely alleging actual malice is

insufficient; courts are not bound to accept as true legal conclusions couched as factual

allegations.”). Rather, the plaintiff must plead enough facts to “show that the existence of actual

malice is plausible on its face.” Earley v. Gatehouse Media Pa. Holdings, Inc., 2015 U.S. Dist.

LEXIS 31065, at *5-6 (M.D. Pa. Mar. 13, 2015) (citation and internal quotation marks omitted).

When a plaintiff fails to meet this requirement, such as when a complaint’s allegations “rise to

no more than professional negligence,” the claims must be dismissed. Lee, 710 F. App’x at 560

(affirming Rule 12(b)(6) dismissal of defamation claim for, inter alia, failure to plausibly plead

actual malice).11

       Judge Patrick attempts to plead actual malice in various ways. Each is insufficient as a

matter of law. First, Judge Patrick asserts, in conclusory fashion, that the Daily Beast

Defendants acted “malicious[ly]” or “reckless[ly]” or published a “knowingly false” or

“intentionally misleading” statement. Compl. ¶¶ 6, 22, 26, 28. These rote incantations of the

actual malice standard, however, are insufficient. See, e.g., McCafferty, 955 F.3d at 360




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  See also, e.g., Michel v. NYP Holdings, Inc., 816 F.3d 686, 702 (11th Cir. 2016) (affirming
dismissal of defamation claim where plaintiff failed to adequately plead actual malice and noting
that “every circuit that has considered the matter has applied the Iqbal/Twombly standard and
held that a defamation suit may be dismissed for failure to state a claim where the plaintiff has
not pled facts sufficient to give rise to a reasonable inference of actual malice”); Tah v. Global
Witness Publ’g, Inc., 991 F.3d 231, 243 (D.C. Cir. 2021); Nelson Auto Ctr. v. Multimedia
Holdings Corp., 951 F.3d 952, 958 (8th Cir. 2020); Walker v. Beaumont Indep. Sch. Dist., 938
F.3d 724, 745 (5th Cir. 2019); Biro v. Condé Nast, 807 F.3d 541, 546 (2d Cir. 2015); Pippen v.
NBCUniversal Media, 734 F.3d 610, 614 (7th Cir. 2013); Mayfield v. NASCAR, 674 F.3d 369,
377-78 (4th Cir. 2012); Schatz, 669 F.3d at 58; see also Ryniewicz v. Clarivate Analytics, 803 F.
App’x 858, 868 (6th Cir. 2020) (defamation plaintiff failed to make plausible allegation of actual
malice necessary to overcome state-law qualified privilege).


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(affirming dismissal of false light claim for failure to plead facts that would establish actual

malice).

       Next, Judge Patrick accuses the Daily Beast Defendants of having “made no attempt to

confirm this alleged Q’Anon ‘link’ to Judge Patrick.” Compl. ¶ 23. Leaving aside that this

allegation is flatly contradicted by the Daily Beast article itself (which included multiple

hyperlinks to prior news reports by reputable news organizations and ample documentation of

Judge Patrick’s links to QAnon), it is well established that pleading a failure to investigate,

without more, will not support a claim of actual malice. St. Amant, 390 U.S. at 731 (actual

malice is “not measured by whether a reasonably prudent [person] would have published, or

would have investigated before publishing”); Coleman, 142 A.3d at 910 (“the fact that

Defendants did not contact the sources referenced in the affidavit does not constitute evidence

that Defendants entertained serious doubts about the truthfulness of the information”).

Accordingly, Judge Patrick’s accusation that the Daily Beast Defendants failed to take proper

steps to confirm her links to QAnon, even accepted as true despite the confirmatory steps

described in the article itself, is inadequate to properly plead actual malice.

       Judge Patrick further contends that the Daily Beast Defendants acted with improper

motives, asserting that the article was published “to harm Judge Patrick, whose politics

apparently do not align with those of the Daily Beast Defendants.” Compl. ¶ 6. This gross

mischaracterization of the Daily Beast Defendants’ journalistic motivations, even if proven,

would not be sufficient to support a finding of actual malice. That is because the actual malice

standard “is not met through a showing of ill will or malice in the ordinary sense.” Joseph v.

Scranton Times LP, 129 A.3d 404, 436-37 (Pa. 2015). As the Superior Court has observed,

“[a]ctual malice focuses on the defendant’s attitude toward the truth, whereas common law




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malice focuses on the defendant’s attitude toward the plaintiff.” DeMary v. Latrobe Printing &

Publ’g Co., 762 A.2d 758, 764 (Pa. Super. 2000) (emphasis added). Accordingly, even evidence

that a defendant “had a ‘vendetta’” and was “‘obsessed’ with seeking retribution” against the

plaintiff cannot support a finding of actual malice. Sprague v. Walter, 516 A.2d 706, 725 n.18

(Pa. Super. 1986); accord Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 596 (D.C. Cir. 2016) (“the

mere presence of some ulterior motive—[including] a personal desire to harm the subject of a

story—is not enough to support a finding of actual malice”). Moreover, here the Daily Beast

article fairly and accurately reported that Judge Patrick “denied that she ever planned to attend a

QAnon-affiliated event” and said “she had no idea why she was listed as a speaker.” Compl. Ex.

A. In short, Judge Patrick cannot allege actual malice simply by asserting that the Daily Beast

Defendants harbored ill will toward her.

       Finally, Judge Patrick blames the Daily Beast for relying on “the Inquirer’s flawed

reporting to further its own agenda and malign Judge Patrick.” Compl. ¶ 21. But this allegation

turns the actual malice inquiry on its head. The Daily Beast’s reliance on The Inquirer and other

reputable news sources actually forecloses a finding of actual malice. See supra note 7. Indeed,

the Third Circuit has held that a magazine’s reliance on an earlier article in The Inquirer defeated

the plaintiff’s attempt to show actual malice. See, e.g., Marcone v. Penthouse Int’l Magazine for

Men, 754 F.2d 1072, 1090 (3d Cir. 1985) (reliance on prior “newspaper article” means that “we

cannot say the whole story is a fabrication or a product of the author’s imagination”). In another

case, the Third Circuit affirmed a district court’s award of summary judgment to Time magazine,

holding the plaintiff could not possibly establish actual malice where “the [challenged] article

was clearly derived in large part from previously published articles and did not change the

import of those articles in any material way.” Tucker, 237 F.3d at 287; accord McDowell v.




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Paiewonsky, 769 F.2d 942, 951 (3d Cir. 1985) (holding plaintiff failed to adduce evidence of

actual malice where “defendant relied on the official reports and news accounts of the various

construction projects”). Accordingly, the hyperlinks in the Daily Beast article, which

demonstrate its reliance on reputable news sources, affirmatively foreclose a finding that the

article was published with actual malice.

       In sum, Judge Patrick’s false light claim against the Daily Beast Defendants should be

dismissed for the additional independent reason that she cannot allege that they published the

Daily Beast article with actual malice.

                                          CONCLUSION

       For the foregoing reasons, the Daily Beast Defendants respectfully request that the Court

dismiss Plaintiff’s claims against them with prejudice, and grant such other relief as it deems

appropriate.

 Dated: June 17, 2022                        Respectfully submitted,

                                             BALLARD SPAHR LLP

                                             By: /s/ Kaitlin M. Gurney
                                                  Kaitlin M. Gurney
                                                  Leslie Minora
                                             1735 Market Street, 51st Floor
                                             Philadelphia, PA 19103
                                             T: (215) 665-8500
                                             F: (215) 864-8999
                                             gurneyk@ballardspahr.com
                                             minoral@ballardspahr.com

                                             Seth D. Berlin (pro hac vice forthcoming)
                                             1909 K Street NW, 12th Floor
                                             Washington, DC 20006-1157
                                             T: (202) 508-1122
                                             F: (202) 661-2299
                                             berlins@ballardspahr.com

                                             Counsel for Defendants The Daily Beast
                                             Company LLC and Laura Bradley


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